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                                   #:464



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  8 WEST COVINA, MARTINEZ J514; and,
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  9
 10                      UNITED STATES DISTRICT COURT
 11       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 JULIAN PULIDO,                             Case No. 2:23-cv-06266-SVW (JPRx)
                                               District Judge: Stephen V. Wilson
 14             Plaintiff,                     Magistrate Judge: Jean P. Rosenbluth
 15       v.
 16 COUNTY OF LOS ANGELES;                     NOTICE OF WITHDRAWAL OF
    NGOZI CHUKWUEMEK, NP; TRINI                DOCUMENT NUMBER 61
 17 BUI, NP; MONIKA VILLAZON, NP;
    TAYLOR DOCTER, PGY3; MINA
 18 MASRI, D.O.; KEITH CARRILLO,
    NP; BEVERLY WELCH; TCHUISSE
 19 HERMIONE, NP; MANUEL O.
    NATIVIDAD, M.D.; VERONICA                  Filed Date:       08/02/23
 20 HERNANDEZ-LARA, NP; REA
    WHITMAN, PA; CHASE LUTHER,
 21 M.D.; ROBERT PAQUETTE, M.D.;
    ZIBA DAYANI, PA; EKATERINA
 22 KOROL, NP; DINA VILLAPUDUA,
    PA; OLIVIA GOMEZ, M.D.;
 23 BRITTANY SLAUGHTER, PA;
    ALEXIS M. PETERS, M.D.; AUNG
 24 LIN, D.O.; CHRISTINA R. GHALY,
    M.D.; TIMOTHY BELAVICH, PH.D.;
 25 SEAN HENDERSON, M.D.; CITY OF
    WEST COVINA; MARTINEZ J514;
 26 and, OFFICER BOWMAN #418;
 27             Defendants.
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                      NOTICE OF WITHDRAWAL OF DOCUMENT NUMBER 61
Case 2:23-cv-06266-SVW-JPR      Document 62     Filed 12/12/23   Page 2 of 2 Page ID
                                     #:465



  1        Defendants CITY OF WEST COVINA, MARTINEZ J514; and, OFFICER
  2 BOWMAN #418; respectfully moves to withdraw Document Number 61, Stipulated
  3 Protective Order, due a clerical error in the premature filing of the proposed
  4 stipulation.
  5
  6 DATED: December 12, 2023             MANNING & KASS
                                         ELLROD, RAMIREZ, TRESTER LLP
  7
  8
  9                                      By:         /s/ Joseph A. Gordon
 10                                            Joseph Gordon
                                               Attorneys for Defendants, CITY OF WEST
 11
                                               COVINA, MARTINEZ J514; and,
 12                                            OFFICER BOWMAN #418
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                       NOTICE OF WITHDRAWAL OF DOCUMENT NUMBER 61
